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BPS Crawford County

wh Library System

1409 Main Street, Van Buren, AR 72956

Phone 479.471.3226 Fax 479.471.3227 Website

www.crawfordcountylib.org

January 10, 2023
Board Meeting Minutes

Van Buren Public Library

I. Call to Order: Keith Pigg called meeting to order at 4:38 p.m. Roll Call who’s Present
Was called. Keith Pigg, Colleen Hoelscher, Tammi Hamby, Amanda Stevens, Kaelin Schaper

Il. Approval of previous minutes — November 8, 2022 Hamby made a motion to approve
and Schaper seconded the motion all approved by roll call vote.

Ill. Financial Report/Stats/Budget were reviewed. Hamby made a motion to approve
Schaper

Seconded the motion all approved by roll call vote.

IV. Directors’ Highlights were presented by each Branch Director, Alma-Reeca Mayer,
Cedarville-Michele Belk, Mountainburg-Julia Watkins, Mulberry-Justin Trosper, Van
Buren-Deidre Grzymala.

V. Old Business: none

VI. New Business:

a. Appointing Chairman and Vice Chairman
Hoelscher nominated Pigg as Chairman
Stevens nominated Hamby as Chairman
Roll Call Vote was taken and Hamby was approved as Chairman of the Board
Pigg was nominated by Hoelscher as Vice Chairman and Roll Call Vote was taken
and all approved Pigg as Vice Chairman.

b. Policy Adjustments
i. Policy GF — Fines, Charges and Patron Responsibilities was changed to

$1.00 replacement fee to be added to Petty Cash. Pigg made a motion

To approve the change to policy, Schaper seconded. All approved by
Roll Call Vote

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ii. Policy HA — Collection Development Pigg made a motion to table
changes until the next meeting on March 14, 2023. Hoelscher seconded
the motion and all 5 approved by Roll Call Vote.

iii. Policy HB — Gifts and Memorials Pigg made a motion to table this
discussion until next meeting in March, Schaper seconded the motion
and Roll Call Vote was taken and all 5 approved.

c. Book Challenges
Motion was made by Stevens to table until everyone had time to read the
books. Hoelscher seconded the motion and Roll Call Vote was taken and all
approved.

d. Compromise with Quorum Court — Outlined by Grzymala the Library has agreed
to put the Books in an Adult Section labeled S and have color labels on books
requiring parental guidance.

e. Several speakers were given 2 minutes each to speak in front of the board.
Signed attendance sheets are attached. Room was at capacity.

VIL. Adjournment motion was made by Stevens to adjourn at 6:43 p.m. seconded by
Shaper. All in favor motion carried.
VIII. Next Board Meeting is March 14" at Alma Branch.

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